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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-CV-24100-COOKE/GOODMAN


  DIGNA VINAS,

                 Plaintiff/Counter Defendant,

  v.

  THE INDEPENDENT ORDER
  OF FORESTERS,

                 Defendant/Counter Plaintiff/

   DEFENDANT’S MOTION TO OVERRULE PLAINTIFF’S SUBPOENA OBJECTIONS
          AND RESPONSES TO DEFENDANT’S WRITTEN DISCOVERY

         Defendant, The Independent Order of Foresters (“Foresters”), pursuant to the Court’s

  Order (Doc. 58), moves to compel responses to non-party subpoenas and responses to its Request

  for Production (“RFPs”) 1, 4-6, 10, 17-18, 21, and Interrogatories (“ROGs”) 5-6, 13, 15-17, 20-

  22. In support Foresters states:

         This is a straightforward rescission action due to the Rigoberto Vinas’s 1 (“Mr. Vinas”)

  misrepresentations on a life insurance contract. Simply put, Foresters seeks information regarding

  Mr. Vinas’s medical history and his knowledge of his own medical issue, which Plaintiff has

  objected to. The seminal issue is whether Mr. Vinas made material misrepresentations during the

  application process, which requires discovery of his medical history and the extent of his

  knowledge of his medical condition. Foresters has propounded ROGS (Ex. 1) and RFPs (Ex. 2),

  and served non-party subpoenas 2 (Ex. 3) to various entities, including Mr. Vinas’ treating


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          Mr. Vinas is Plaintiff’s late husband.
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         Specifically, Foresters issued subpoenas to: (1) Hershman Medical Center (“Hershman);
  (2) Humana Inc. (“Humana”); (3) Kendall Regional Medical Center (“Kendall”); (4) LabCorp
  Tampa (“LabCorp”); (5) Quest Diagnostics Incorporated (“Quest”); and (6) South Florida
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  physician Dr. Hershman 3 and the laboratories who conducted blood tests as well as United States

  Life who sold Mr. Vinas a policy in 2012 and whose medical examiner told Mr. Vinas that he had

  diabetes.

         As a brief history, Mr. Vinas applied for life insurance coverage and represented that he

  had not been diagnosed with, or treated for diabetes, and never had kidney or sensory problems

  associated with diabetes. Foresters issued the Certificate in reliance on these representations. Mr.

  Vinas died within two years of the Certificate’s issuance. After Plaintiff submitted a claim,

  Foresters reviewed Mr. Vinas’ medical records that were provided to Forester by Plaintiff and

  found that Mr. Vinas had an extensive history of treatment for diabetes and attendant sensory and

  kidney issues which was not disclosed. Foresters denied Plaintiff’s claim and rescinded the

  Certificate expressly reserving “all claims and defen[s]es that it may have or further discover.”

  (Ex. 6). This action for death benefits under the Certificate followed. See Am. Compl. (Doc. 33).

  Foresters counter-claimed for rescission of the Certificate. See Answer and Counterclaim (Doc.

  34).

          The purpose of this discovery is to obtain relevant information concerning the seminal

  issue in this case, information regarding Mr. Vinas’s medical history and his knowledge. See e.g.

  Standard Insurance Co. v. Charles J. Adelson, Case No. 0:17-cv-62056-WPD, Doc. 37 (March 1,

  2019) (order granting motion to compel, inter alia, medical information in rescission of disability

  policy action). Plaintiff claims that any information which Foresters did not obtain when it denied

  Plaintiff’s claim is irrelevant. See Emails (Ex. 4) and Written Discovery Communications (Ex. 5).




  Diagnostic Imaging (“S. Florida”). Foresters served Kendall and S. Florida. It is holding the
  remainder of the subpoenas.
          3
            Plaintiff identified Dr. Hershman in her Rule 26 Disclosures (Ex. 7), which underscores
  the relevance of his records.

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  Essentially, Plaintiff objects to any discovery about Mr. Vinas’ medical history, including the

  complete records of Dr. Hershman. Instead of moving for a protective order, Plaintiff unilaterally

  instructed the non-party entities not to comply with the subpoenas, and provided insufficient

  responses to the written discovery, relying on boilerplate objections and inapplicable case law.

  Plaintiff has failed to satisfy her burden of establishing that the discovery is irrelevant. Haiser v.

  MSC Cruises, S.A., 2019 WL 1388641, at *2 (S.D. Fla. Jan. 31, 2019).

         Foresters subpoenaed six third-party medical entities and seeks Mr. Vinas’s medical files,

  including but not limited to intake forms, examinations, test results, prescription logs, and office

  visit notes. These documents bear directly on the accuracy of Mr. Vinas’s application responses,

  and his knowledge of these conditions.       That is, whether Mr. Vinas made misrepresentations

  during the application process, whether Foresters’ rescission was appropriate, and whether

  Foresters breached the Certificate.

          In addition to the subpoenas, Foresters seeks all documents that identify or refer to Mr.

  Vinas’s medications (RFP 4), health care providers since 2005 (RFP 5), and health since 2005

  (RFP 6). Similarly, Foresters seeks information identifying Mr. Vinas’s medications, treatments,

  and pharmacies (ROG 5), medical conditions (ROG 6), and whether Mr. Vinas ever applied for

  disability benefits (ROG 15). 4 Not only did Plaintiff object to these requests on the grounds of

  relevance, but she also incorrectly claims that she is not required to provide Foresters with

  documents that she previously submitted during the claims process. A party, however is required

  to produce responsive documents, regardless of whether she provided those documents during an




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            Ordinarily, undersigned would quote verbatim each interrogatory and request for
  production, the grounds assigned for the objection, and the reasons assigned for supporting the
  motion in accordance with L.R. 26.1(g). Due to the number of issues in this motion and the page
  limitations, the discovery requests/interrogatories and objections are attached as exhibits.

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  underlying claim process. United States v. Kaman Precision Prods., Inc., 2010 WL 11626637

  (M.D. Fla. Aug. 13, 2010) (“Discovery produced prior to this lawsuit is irrelevant. Thus, to the

  extent Defendant relies on the production pursuant to the administrative subpoena, Defendant’s

  response is insufficient and Defendant is directed to fully respond to the request for production in

  this case.”). Further, during the claim process, Plaintiff did not provide all of Dr. Hershman’s

  records, as there are lab reports missing. This raised a question of whether Plaintiff removed

  records before sending them to Foresters or whether Dr. Hershman provided her with incomplete

  records. 5 The answer to this question is certainly relevant along with the missing records.

         Mr. Vinas’s other life insurance applications are also relevant.(RFP 10), as they contain

  information about his medical treatment and knowledge of his medical conditions

         Additionally, Plaintiff should be required to explain the basis of her factual allegation that

  Mr. Vinas answered the application questions to the best of his knowledge (ROG 20), that Mr.

  Vinas’s misrepresentations were not material to Foresters’ decision to issue the Certificate (ROG

  21), and that Foresters “improperly interpreted Florida law” (ROG 22). Instead of responding,

  Plaintiff points Foresters to its own claim and underwriting file and deposition transcripts. In fact,

  Plaintiff has failed to produce a single document. It is impermissible to direct a party to

  documents, without providing specific citations or additional explanation.             Rodriguez v.

  Whitestone Grp., Inc., 2013 WL 12064494 (S.D. Fla. Mar. 22, 2013) (“The answers provided

  referencing, without any specific citation or reference, general documents produced in discovery

  is clearly insufficient. Rule 33(d) is not intended to be used as a ‘procedural device’ for avoiding




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          For example, on November 10, 2015, Dr. Hershman referred Mr. Vinas for lab work.
  Additionally, on August 19, 2014, Dr. Hershman indicated that Mr. Vinas is there to review lab
  tests. However, there are no corresponding lab results in the records Plaintiff provided. See
  Medical Records (Ex. 8).

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  the duty to give information.”). Plaintiff also objects to these requests on the grounds of work

  product. However, Foresters is not asking Plaintiff to divulge her litigation strategy. Rather,

  Foresters is asking Plaintiff to state, in non-legalese, the factual basis of her allegations.

          Plaintiff also provided insufficient responses to ROGs 16 and 17. Foresters asked Plaintiff

  to describe the communications that either she or Mr. Vinas had with Foresters regarding the

  Application, including communications with Dr. Hershman, who provided a letter on Mr. Vinas’s

  behalf during the application process. Communications with Dr. Hershman are relevant to Mr.

  Vinas’s knowledge of his medical condition. Plaintiff failed to provide any of the requested

  information in her responses, but simply states that Foresters should be able to infer this from the

  limited information she provided.        Asking a party propounding discovery to figure it out

  themselves is not responsive. McGinn v. G&K Aluminum, Inc., 2009 WL 10668685 (S.D. Fla.

  Dec. 17, 2009) (entering an order compelling complete, detailed discovery responses).

          Additionally, pleadings, motions, transcripts and depositions, in other lawsuits from 2010

  to the present in which Plaintiff or Mr. Vinas was a party (RFP 17) are relevant, as are statements

  that Plaintiff and Mr. Vinas made under oath from period 2005 forward (RFP 18). Not only could

  these documents contain information relevant to this action, this information will shed light on

  the credibility of Plaintiff and Mr. Vinas

          Finally, Foresters seeks discovery concerning Plaintiff’s applications for benefits under

  any other policy insuring Mr. Vinas, as it bears on Plaintiff’s alleged damages (ROG 13), including

  her claim for consequential damages, (RFP 21) and her efforts to mitigate such damages.

          Ultimately, Plaintiff’s objections to discovery should be overruled. Accordingly, this Court

  should enter an Order overruling Plaintiff’s objections to Foresters’ subpoenas, and compelling

  better responses to RFPs 1, 4-6, 10, 17-18, 21, and ROGs 5-6, 13, 15-17, 20-22.



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                                    Local Rule 7.1 Certification
         Foresters conferred with Plaintiff’s counsel who opposes the relief sought in this Motion.

  Dated: March 24, 2020                        MCDOWELL HETHERINGTON LLP
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                                  CERTIFICATE OF SERVICE

         I certify that on March 24, 2020, I electronically filed the foregoing with the Clerk of the
  Court by using the CM/ECF system which will send a notice of electronic filing to the following:

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